                                           UNITED STATES BANKRUPTCY COURT
                                             NORTHERN DISTRICT OF OHIO

              In re: CLARK, TIMOTHY L.                                                          § Case No. 16-50154-AMK
                     CLARK, CYNTHIA A.                                                          §
                                                                                                §
         Debtor(s)                                                                              §

                                           TRUSTEE'S FINAL REPORT (TFR)

                The undersigned trustee hereby makes this Final Report and states as follows:

               1. A petition under Chapter 7 of the United States Bankruptcy Code
       was filed on January 28, 2016. The undersigned trustee was appointed on January 28, 2016.

                 2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.

                3. All scheduled and known assets of the estate have been reduced to cash, released to
       the debtor as exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned
       pursuant to 11 U.S.C. § 554. An individual estate property record and report showing the
       disposition of all property of the estate is attached as Exhibit A.
                 4. The trustee realized the gross receipts of                      $                  2,000.00

                                    Funds were disbursed in the following amounts:
                                    Payments made under an
                                      interim distribution                                                  0.00
                                    Administrative expenses                                                 0.00
                                    Bank service fees                                                       0.00
                                    Other payments to creditors                                             0.00
                                    Non-estate funds paid to 3rd Parties                                    0.00
                                    Exemptions paid to the debtor                                           0.00
                                    Other payments to the debtor                                            0.00
                             Leaving a balance on hand of 1                         $                  2,000.00
       The remaining funds are available for distribution.

               5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank
       account.




              1 The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest
earned prior to disbursement will be distributed pro rata to creditors within each priority category. The trustee may
receive additional compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on
account of the disbursement of the additional interest.

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               6. The deadline for filing non-governmental claims in this case was 10/27/2017
       and the deadline for filing governmental claims was 10/27/2017. All claims of each class
       which will receive a distribution have been examined and any objections to the allowance
       of claims have been resolved. If applicable, a claims analysis, explaining why payment on any
       claim is not being made, is attached as Exhibit C .

                 7. The Trustee's proposed distribution is attached as Exhibit D .

               8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is
       $500.00. To the extent that additional interest is earned before case closing, the maximum
       compensation may increase.

                The trustee has received $0.00 as interim compensation and now requests the
       sum of $95.29, for a total compensation of $95.29.2 In addition, the trustee
       received reimbursement for reasonable and necessary expenses in the amount of $0.00
       and now requests reimbursement for expenses of $12.18, for total expenses of
              2
       $12.18.

               Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
       foregoing report is true and correct.

       Date: 06/14/2019                    By: /s/HAROLD A. CORZIN
                                               Trustee




       STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
       Act exemption 5 C.F.R. §1320.4(a)(2) applies.




            2 If the estate is administratively insolvent, the dollar amounts reflected in this paragraph
may be higher than the amounts listed in the Trustee's Proposed Distribution (Exhibit D)

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                                                                                                                                                                                  Exhibit A


                                                                                      Form 1                                                                                      Page: 1

                                             Individual Estate Property Record and Report
                                                              Asset Cases
Case Number: 16-50154-AMK                                                                       Trustee:       (550340)      HAROLD A. CORZIN
Case Name:         CLARK, TIMOTHY L.                                                            Filed (f) or Converted (c): 01/28/16 (f)
                   CLARK, CYNTHIA A.                                                            §341(a) Meeting Date:        03/14/16
Period Ending: 06/14/19                                                                         Claims Bar Date:             10/27/17

                                 1                                            2                            3                       4                    5                     6

                     Asset Description                                   Petition/              Estimated Net Value           Property            Sale/Funds            Asset Fully
          (Scheduled And Unscheduled (u) Property)                     Unscheduled         (Value Determined By Trustee,     Abandoned            Received by        Administered (FA)/
                                                                          Values              Less Liens, Exemptions,        OA=§554(a)            the Estate         Gross Value of
Ref. #                                                                                            and Other Costs)                                                   Remaining Assets

 1        3782 PELHAM LANE, KENT OH                                          93,100.00                           0.00            OA                          0.00                        FA

 2        CASH                                                                     70.00                         0.00                                        0.00                        FA

 3        CHASE BANK CHECKING ACCOUNT                                             256.11                         0.00                                        0.00                        FA

 4        CHASE BANK SAVINGS ACCOUNT                                               75.02                         0.00                                        0.00                        FA

 5        HOUSEHOLD GOODS AND FURNISHINGS                                         750.00                         0.00                                        0.00                        FA

 6        BOOKS, PICTURES, COMPACT DISCS,                                         800.00                         0.00                                        0.00                        FA
          PRESIDENTIAL GOL

 7        CLOTHING                                                                200.00                         0.00                                        0.00                        FA

 8        WEDDING RING, WEDDING BANDS, OTHER GOLD                             3,900.00                           0.00                                        0.00                        FA
          JEWELRY

 9        FISHING EQUIPMENT, TOOLS                                            1,000.00                           0.00                                        0.00                        FA

10        STATE FARM UNIVERSAL LIFE POLICY : SPOUSE                               399.65                         0.00                                        0.00                        FA

11        STATE FARM UNIVERSAL LIFE POLICY : SPOUSE                               192.03                         0.00                                        0.00                        FA

12        ROLLOVER IRA THROUGH RAYMOND JAMES                                 66,448.43                           0.00                                    2,000.00                        FA

13        ANTICIPATED 2015 FEDERAL AND STATE INCOME                           Unknown                            0.00                                        0.00                        FA
          TAX RE

14        2006 CHEVROLET IMPALA                                               3,727.00                           0.00                                        0.00                        FA

15        CATS (2)                                                                  0.00                         0.00                                        0.00                        FA

 15      Assets       Totals (Excluding unknown values)                   $170,918.24                          $0.00                                    $2,000.00                     $0.00



      Major Activities Affecting Case Closing:

                   6/2019 Trustee awaiting counsel to file fee applications and will finalize


                   11/18 Trustee awaiting Court's decision on claimed exemption in inherited pension


                   An issue involving a claimed exemption in an inherited pension came before the court by way of oral argument in April, 2017. The Trustee is awaiting a decision.




                                                                                                                                                 Printed: 06/14/2019 03:41 PM         V.14.50

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                                                                                                                                                                  Exhibit A


                                                                          Form 1                                                                                  Page: 2

                                         Individual Estate Property Record and Report
                                                          Asset Cases
Case Number: 16-50154-AMK                                                      Trustee:       (550340)      HAROLD A. CORZIN
Case Name:       CLARK, TIMOTHY L.                                             Filed (f) or Converted (c): 01/28/16 (f)
                 CLARK, CYNTHIA A.                                             §341(a) Meeting Date:        03/14/16
Period Ending: 06/14/19                                                        Claims Bar Date:             10/27/17

                              1                                     2                     3                       4                    5                      6

                    Asset Description                           Petition/        Estimated Net Value          Property            Sale/Funds          Asset Fully
         (Scheduled And Unscheduled (u) Property)             Unscheduled   (Value Determined By Trustee,    Abandoned            Received by      Administered (FA)/
                                                                 Values        Less Liens, Exemptions,       OA=§554(a)            the Estate       Gross Value of
Ref. #                                                                             and Other Costs)                                                Remaining Assets

     Initial Projected Date Of Final Report (TFR):   September 30, 2017          Current Projected Date Of Final Report (TFR):       June 13, 2019 (Actual)




                                                                                                                                 Printed: 06/14/2019 03:41 PM     V.14.50

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                                                                                                                                                                               Exhibit B


                                                                               Form 2                                                                                           Page: 1

                                                  Cash Receipts And Disbursements Record
Case Number:         16-50154-AMK                                                               Trustee:              HAROLD A. CORZIN (550340)
Case Name:           CLARK, TIMOTHY L.                                                          Bank Name:            United Bank
                     CLARK, CYNTHIA A.                                                          Account:              ********2016 - Checking Account
Taxpayer ID #:       **-***3818                                                                 Blanket Bond:         $8,000,000.00 (per case limit)
Period Ending: 06/14/19                                                                         Separate Bond: N/A

   1             2                         3                                     4                                                  5                   6                  7

 Trans.     {Ref #} /                                                                                                         Receipts          Disbursements          Checking
  Date      Check #           Paid To / Received From           Description of Transaction                   T-Code              $                    $             Account Balance
06/10/19       {12}        Debtors                       Settlement Proceeds                               1129-000                  2,000.00                                  2,000.00

                                                                               ACCOUNT TOTALS                                        2,000.00                0.00          $2,000.00
                                                                                      Less: Bank Transfers                               0.00                0.00
                                                                               Subtotal                                              2,000.00                0.00
                                                                                      Less: Payments to Debtors                                              0.00
                                                                               NET Receipts / Disbursements                         $2,000.00               $0.00



                                                                                                                                      Net             Net                  Account
                                                                               TOTAL - ALL ACCOUNTS                                 Receipts     Disbursements             Balances

                                                                               Checking # ********2016                               2,000.00                0.00              2,000.00

                                                                                                                                    $2,000.00               $0.00          $2,000.00




{} Asset reference(s)                                                                                                                       Printed: 06/14/2019 03:41 PM        V.14.50

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                                       EXHIBIT C - CLAIMS ANALYSIS
                                      Case: 16-50154-AMK CLARK, TIMOTHY L.
                                                                                              Claims Bar Date:   10/27/17
 Claim   Claimant Name /                        Claim Type/   Claim Ref./    Amount Filed/        Paid            Claim
Number   <Category>, Priority                   Date Filed    Notes              Allowed         to Date         Balance
         HAROLD A. CORZIN                       Admin Ch. 7                        $500.00         $0.00           $500.00
         304 N. CLEVELAND-MASSILLON RD           01/28/16                          $500.00
         AKRON, OH 44333
         <2100-00 Trustee Compensation>, 200
         HAROLD A. CORZIN                       Admin Ch. 7                         $63.92         $0.00            $63.92
         304 N. CLEVELAND-MASSILLON RD           01/28/16                           $63.92
         AKRON, OH 44333
         <2200-00 Trustee Expenses>, 200
 1       Capital One NA                         Unsecured     6139                 $260.57         $0.00           $260.57
         c/o Becket and Lee LLP                  05/12/16                          $260.57
         PO Box 3001
         Malvern, PA 19355-0701
         <7100-00 General Unsecured § 726(a)(2)>, 610
 2       Dyck-O'Neal, Inc.                      Unsecured     0593               $27,840.32        $0.00         $27,840.32
         P.O. Box 601549                         10/27/16                        $27,840.32
         Dallas, TX 75360-1549
         <7100-00 General Unsecured § 726(a)(2)>, 610
 3       Seven Seventeen Credit Union           Unsecured     5202                $8,383.40        $0.00          $8,383.40
         3181 Larchmont Ave.                     07/27/17                         $8,383.40
         Warren, OH 44483
         <7100-00 General Unsecured § 726(a)(2)>, 610
 4       Crystal Clinic Inc.                    Unsecured     5455                  $32.14         $0.00            $32.14
         PO Box 75575                            08/05/17                           $32.14
         Cleveland, OH 44101-4755
         <7100-00 General Unsecured § 726(a)(2)>, 610
 5       Crystal Clinic Orthopaedic Center      Unsecured     5629                 $269.28         $0.00           $269.28
         PO BOX 72434                            08/05/17                          $269.28
         Cleveland, OH 44192
         <7100-00 General Unsecured § 726(a)(2)>, 610
 6       Portage County Water Resources         Unsecured     2000                 $272.82         $0.00           $272.82
         PO Box 812                              08/14/17                          $272.82
         Ravenna, OH 44266
         <7100-00 General Unsecured § 726(a)(2)>, 610
 7       Western Reserve Hospital               Unsecured     7793                  $50.00         $0.00            $50.00
         Patient Financial Services              11/02/17                           $50.00
         1900 23rd St Cuyahoga Falls, OH 44223
         <7200-00 Tardy General Unsecured § 726(a)(3)>, 620




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                                   EXHIBIT C - CLAIMS ANALYSIS
                                  Case: 16-50154-AMK CLARK, TIMOTHY L.
                                                                                            Claims Bar Date:   10/27/17
 Claim   Claimant Name /                      Claim Type/    Claim Ref./   Amount Filed/        Paid            Claim
Number   <Category>, Priority                 Date Filed     Notes             Allowed         to Date         Balance
ATTY     CHRISTINE K. CORZIN, ESQ.            Admin Ch. 7                       $7,867.50        $0.00          $7,867.50
         304 N. CLEVELAND-MASSILLON            06/11/19                         $7,867.50
         ROAD
         AKRON, OH 44333
         <3110-00 Attorney for Trustee Fees (Trustee Firm)>, 200
ATTY     CHRISTINE K. CORZIN, ESQ.            Admin Ch. 7                          $9.99         $0.00             $9.99
         304 N. CLEVELAND-MASSILLON            06/11/19                            $9.99
         ROAD
         AKRON, OH 44333
         <3120-00 Attorney for Trustee Expenses (Trustee Firm)>, 200
ATTY     JULIE K. ZURN, ESQ.                  Admin Ch. 7                       $2,053.50        $0.00          $2,053.50
         P. O. BOX 411                         06/13/19                         $2,053.50
         BATH, OH 44210
         <3210-00 Attorney for Trustee Fees (Other Firm)>, 200

                                                                              Case Total:        $0.00         $47,603.44




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                                TRUSTEE'S PROPOSED DISTRIBUTION                                        Exhibit D

           Case No.: 16-50154-AMK
           Case Name: CLARK, TIMOTHY L.
           Trustee Name: HAROLD A. CORZIN
                                              Balance on hand:                          $             2,000.00
            Claims of secured creditors will be paid as follows:

Claim        Claimant                             Claim Allowed Amount Interim Payments               Proposed
No.                                             Asserted       of Claim          to Date              Payment
                                                    None
                                              Total to be paid to secured creditors:    $                 0.00
                                              Remaining balance:                        $             2,000.00

            Applications for chapter 7 fees and administrative expenses have been filed as follows:
Reason/Applicant                                           Total Requested Interim Payments        Proposed
                                                                                     to Date       Payment
Trustee, Fees - HAROLD A. CORZIN                                     500.00                 0.00            95.29
Trustee, Expenses - HAROLD A. CORZIN                                   63.92                0.00            12.18
Attorney for Trustee, Fees - CHRISTINE K. CORZIN,                  7,867.50                 0.00        1,499.30
ESQ.
Attorney for Trustee, Expenses - CHRISTINE K. CORZIN,                   9.99                0.00             1.90
ESQ.
Attorney for Trustee Fees - JULIE K. ZURN, ESQ.                    2,053.50                 0.00           391.33
                          Total to be paid for chapter 7 administration expenses:       $             2,000.00
                          Remaining balance:                                            $                 0.00

             Applications for prior chapter fees and administrative expenses have been filed as follows:
Reason/Applicant                                           Total Requested Interim Payments        Proposed
                                                                                     to Date       Payment
                                                    None
                          Total to be paid for prior chapter administrative expenses:   $                  0.00
                          Remaining balance:                                            $                  0.00




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             In addition to the expenses of administration listed above as may be allowed by the
        Court, priority claims totaling $0.00 must be paid in advance of any dividend to
        general (unsecured) creditors.
              Allowed priority claims are:
Claim          Claimant                                        Allowed Amount Interim Payments           Proposed
No                                                                    of Claim          to Date          Payment
                                                        None
                                                 Total to be paid for priority claims:      $                0.00
                                                 Remaining balance:                         $                0.00
              The actual distribution to wage claimants included above, if any, will be the proposed
        payment less applicable withholding taxes (which will be remitted to the appropriate taxing
        authorities).

            Timely claims of general (unsecured) creditors totaling $ 37,058.53 have been allowed and
        will be paid pro rata only after all allowed administrative and priority claims have been paid in full.
        The timely allowed general (unsecured) dividend is anticipated to be 0.0 percent,
        plus interest (if applicable).
              Timely allowed general (unsecured) claims are as follows:
Claim          Claimant                                        Allowed Amount Interim Payments           Proposed
No                                                                    of Claim          to Date          Payment
  1            Capital One NA                                            260.57                 0.00              0.00
  2            Dyck-O'Neal, Inc.                                      27,840.32                 0.00              0.00
  3            Seven Seventeen Credit Union                            8,383.40                 0.00              0.00
  4            Crystal Clinic Inc.                                        32.14                 0.00              0.00
  5            Crystal Clinic Orthopaedic Center                         269.28                 0.00              0.00
  6            Portage County Water Resources                            272.82                 0.00              0.00
                             Total to be paid for timely general unsecured claims:          $                0.00
                             Remaining balance:                                             $                0.00




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            Tardily filed claims of general (unsecured) creditors totaling $ 50.00 have been
        allowed and will be paid pro rata only after all allowed administrative, priority and timely filed
        general (unsecured) claims have been paid in full. The tardily filed claim dividend is anticipated
        to be 0.0 percent, plus interest (if applicable).

              Tardily filed general (unsecured) claims are as follows:
Claim          Claimant                                       Allowed Amount Interim Payments           Proposed
No                                                                   of Claim          to Date          Payment
  7            Western Reserve Hospital                                  50.00                0.00               0.00
                            Total to be paid for tardy general unsecured claims:          $                  0.00
                            Remaining balance:                                            $                  0.00

             Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims
        ordered subordinated by the Court totaling $ 0.00 have been allowed and will be paid
        pro rata only after all allowed administrative, priority and general (unsecured) claims have been paid
        in full. The dividend for subordinated unsecured claims is anticipated to be 0.0 percent,
        plus interest (if applicable).
              Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims
        ordered subordinated by the Court are as follows:
Claim          Claimant                                       Allowed Amount Interim Payments           Proposed
No                                                                   of Claim          to Date          Payment
                                                       None
                                                Total to be paid for subordinated claims: $                  0.00
                                                Remaining balance:                        $                  0.00




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